Filed 8/27/24 Rosenlund v. Rosenlund CA2/4
            NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  SECOND APPELLATE DISTRICT

                                                DIVISION FOUR


 BRIAN ROSENLUND,                                                       B331053

           Plaintiff and Appellant,                                     (Los Angeles County
                                                                         Super. Ct. No. 18STFL03527)
           v.

 CRYSTAL ROSENLUND,

           Defendant and Respondent.



         APPEAL from a judgment of the Superior Court of Los Angeles County,
Wendy Wilcox, Judge. Affirmed.
         Brian Rosenlund, in pro. per., and Plaintiff and Appellant.
         No appearance for Defendant and Respondent.
                              INTRODUCTION
      Appellant Brian Rosenlund seeks to modify his child support
obligation. After the dissolution of his marriage to Crystal Rosenlund,1 the
court entered a judgment requiring Brian to pay child support. When he
subsequently lost his job, Brian made multiple requests to modify the child
support obligation. Brian appeals from the court’s April 20, 2023, order
denying his second request to modify child support. The record is insufficient
to establish the trial court abused its discretion in denying Brian’s second
request for modification. We affirm.


            FACTUAL AND PROCEDURAL BACKGROUND
      Our ability to discern the factual and procedural history of this case is
hampered because of the sparse record on appeal, consisting only of Brian’s
opening brief, a clerk’s transcript, and five additional documents Brian
submitted to augment the record. The clerk’s transcript on appeal is meager,
containing only six documents that pre-date Brian’s appeal. The record does
not include reporter’s transcripts from the hearings on Brian’s second request
for modification. Crystal has elected not to file a brief or appendix contesting
Brian’s appeal. We therefore summarize the factual and procedural history
as best we can based on the record before us.
      Brian and Crystal were married on December 12, 2009, and had three
children. On September 4, 2019, the family court entered a judgment of
dissolution terminating the marriage. After a contested trial, the court
entered a judgment on November 17, 2021, requiring Brian to pay Crystal
$7,117 per month in child support.


1   We refer to Brian and Crystal by their first names to avoid confusion.
We mean no disrespect.
                                       2
      On March 4, 2022, Brian filed a request for an order modifying spousal
and child support. In that request, Brian sought to decrease his support
allegations on the basis that the loss of his job as a securitized product
analyst at TCW LLC on January 28, 2022, constituted a significant change in
circumstances. Brian’s request was heard and denied on May 12, 2022. In
denying Brian’s request, the court determined there was no significant
change in circumstances because, in addition to the severance he received,
Brian was receiving $6,500 per month in income from rental properties, had
an additional $3.5 million in property, and $371,000 in cash. The court also
questioned whether Brian’s earning capacity had materially changed, stating
“And you have all the capabilities in the world to have—to get another job,
especially in this market. For the most part, everyone’s paying a lot more.
So I’m not seeing it.” Crystal testified at the hearing, indicating that Brian
was also in the process of building a $6 million home for himself in
Manhattan Beach. Brian did not appeal the denial of this request for
modification.
      On September 19, 2022, Brian filed a second request for modification of
child support, again claiming the loss of his job in January 2022 was a change
in circumstances warranting reduction of his child support obligation. In his
request, Brian stated that he made several efforts to obtain a new job in his
former position but had been unsuccessful. In support of this claim, Brian
attached emails indicating that he applied to several companies. He also
attached a website printout that purports to list various other positions he
applied for. He also acknowledged that he received a job offer in July 2022
but turned it down because it would have required relocating to Texas. Brian
indicated that he decided to pivot away from finding re-employment and




                                        3
instead was focusing full-time on a rental business. He claimed he was
currently earning $6,338 per month in rental income from this business.
      Brian filed income and expense declarations on September 19, 2022,
and January 4, 2023. Neither declaration is included in the record on appeal.
      Brian’s request for modification was heard on January 11, 2023. At
Crystal’s request, the court continued the hearing to April 20, 2023. The
minute order memorializing the hearing noted that Brian’s income and
expense declaration was “unclear and incomplete.” There is no reporter’s
transcript or settled statement from the January 11, 2023, hearing.
      On March 20, 2023, Brian filed a new income and expense declaration.
In this declaration, Brian indicated he received $2,964 per month in
investment dividends or interest payments, and $12,669 per month in rental
property income. He also indicated he had other assets totaling $3.5 million,
without specifying if these assets were personal or real property. He noted
his current spouse received $20,000 per month in gross income.
      In response, Crystal filed a declaration asserting that Brian owned
eight rental properties at the time of dissolution but had since acquired an
additional 56 rental properties. Crystal also asserted that Brian had
additional investment assets that were never valued in the divorce
proceedings and could be worth up to $1 million. She also claimed that Brian
and his new spouse were trying to artificially depress Brian’s income to
minimize his support obligations. She repeated that Brian was in the process
of building a $6-7 million home in Manhattan Beach, California.
      Brian’s request for modification was heard on April 20, 2023. The
court’s minute order indicates that both parties were sworn and offered
testimony. In the minute order, “The Court finds there is no significant
change in circumstances for [Brian] and denies [Brian]’s Request for Order.


                                       4
[¶] [Brian] shall continue paying child support as previously ordered by the
Court.”
      There is no reporter’s transcript from the April 2023 hearing on Brian’s
second request to modify child support. In lieu of a reporter’s transcript,
Brian prepared a settled statement that described a portion of the
proceedings. According to Brian’s settled statement, the court asked him why
he paid rent and a mortgage at the same time. In response, Brian explained
that he was currently living in a rental home and the mortgage “is for a home
a few blocks away where he intends to move once construction is complete.”
The court also asked Brian why he didn’t live in one of his rental properties.
Brian explained that his rental properties are located out of state in Utah
and Texas. Brian testified that he lost $63,000 in monthly income since
losing his job. He asked the court if he should sell property to satisfy his
support obligations and the court “answered yes.” Brian also testified that he
was being imputed a 20 percent return on his real estate assets. The judge
noted Brian had $3.5 million in assets and found no change in circumstances
that warranted the reduction of his child support obligations. Brian’s settled
statement does not provide a summary of Crystal’s testimony at the hearing.
However, in summarizing the hearing, the settled statement notes that
Crystal testified Brian had more than $3.5 million in assets. The settled
statement also indicates that the court stated neither of the income and
expense declarations submitted by Brian and Crystal “made sense.”
      On May 16, 2023, Brian filed a document titled “Declaration [illegible]
Request Information Used to Determine Guideline Support.” In this
declaration, Brian asserted the court’s April 20 minute order “does not
include information about how guideline support was calculated or whether it
was calculated.” The declaration then requests the court “disclose (1) the net


                                        5
monthly disposable income of each parent as of the date of the latest hearing
used for determining the amount of support in this case; (2) the tax filing
status of each parent; [and] (3) deductions from gross income” “[p]ursuant to
California Family Code section 4056(b).”
      On June 14, 2023, Brian filed a notice of appeal from the April 20,
2023, order denying his request to modify child support.
      On June 29, 2023, Brian filed another request to modify child support.
The court denied the request, finding “there is no change in circumstances to
modify the support order.”2 The court also noted that “To the extent the
Court has no jurisdiction to make a ruling pending the appeal, the matter is
off calendar.”


                                DISCUSSION
I.    Legal Standards
      “California has a strong public policy in favor of adequate child support.
[Citations.] That policy is expressed in statutes embodying the statewide
uniform child support guideline. (See Fam. Code, §§ 4050-4076.)” (In re
Marriage of Cheriton (2001) 92 Cal.App.4th 269, 283.) “The guideline seeks
to place the interests of children as the state’s top priority.” (Fam. Code,
§ 4053, subd. (e).)3 In setting guideline support, courts are required to
adhere to the principles set forth in section 4053, which include: (1) “A
parent’s first and principal obligation is to support his or her minor children
according to the parent’s circumstances and station in life”; (2) “[e]ach parent
should pay for the support of the children according to his or her ability”; and


2     Brian claims this third request was denied on res judicata grounds.

3    All further statutory references are to the Family Code unless
otherwise stated.
                                        6
(3) “[t]he financial needs of the children should be met through private
financial resources as much as possible.” (§ 4053, subds. (a), (d), (h).)
      “As a general rule, courts will not modify child or spousal support
unless there has been a material change of circumstances following the
previous determination.” (In re Marriage of Usher (2016) 6 Cal.App.5th 347,
357 (Usher).) “‘“[T]he reason for the change of circumstances rule is to
preclude relitigation over the same facts” and to bring finality to
determinations concerning financial support.’” (Ibid.; see also In re Marriage
of Rosenfeld &amp; Gross (2014) 225 Cal.App.4th 478, 490 [“‘Without a changed
circumstances rule, “‘dissolution cases would have no finality and unhappy
former spouses could bring repeated actions for modification with no burden
of showing a justification to change the order’”’”].)
      The party seeking modification of a child support order bears the
burden of showing changed circumstances sufficiently material to support the
modification. (Usher, supra, 6 Cal.App.5th at pp. 357–358.) “‘There are no
rigid guidelines for evaluating whether circumstances have sufficiently
changed to warrant a child support modification.’” (Id. at p. 358.) “Each case
stands or falls on its own facts, but the overriding issue is whether a change
has affected either party’s financial status.” (In re Marriage of Laudeman
(2001) 92 Cal.App.4th 1009, 1015; see also In re Marriage of Leonard (2004)
119 Cal.App.4th 546, 556 [“‘So long as the statewide statutory formula
support requirements are met . . . the determination is made on a case-by-
case basis and may properly rest on fluctuations in need or ability to pay’”].)
      We review a trial court’s determination to grant or deny a request for
modification of a child support order for an abuse of discretion. (In re
Marriage of Macilwaine (2018) 26 Cal.App.5th 514, 527; In re Marriage of
Leonard, supra, 119 Cal.App.4th at p. 556 [“The ultimate determination of


                                        7
whether the individual facts of the case warrant modification of support is
within the discretion of the trial court”].) Under this standard, we consider
only “‘whether the court’s factual determinations are supported by
substantial evidence and whether the court acted reasonably in exercising its
discretion.’” (In re Marriage of Macilwaine, supra, 26 Cal.App.5th at p. 527,
quoting In re Marriage of De Guigne (2002) 97 Cal.App.4th 1353, 1360.) “‘We
do not substitute our judgment for that of the trial court, but confine
ourselves to determining whether any judge could have reasonably made the
challenged order.’” (Ibid.) The trial court’s discretion must be exercised
within the limits of the child support statutes, but we uphold “the exercise of
discretion as broadly as possible under the statute.” (In re Marriage of Fini
(1994) 26 Cal.App.4th 1033, 1043.)
      “To the extent [appellant] challenges the trial court’s factual findings,
our review follows established principles concerning the existence of
substantial evidence in support of the findings. On review for substantial
evidence, we examine the evidence in the light most favorable to the
prevailing party and give that party the benefit of every reasonable
inference.” (In re Marriage of Calcaterra &amp; Badakhsh (2005) 132 Cal.App.4th
28, 34, quoting In re Marriage of Drake (1997) 53 Cal.App.4th 1139, 1150–
1151, internal quotation marks omitted.) “We do not reweigh the evidence or
reconsider credibility determinations.” (In re Marriage of Dandona &amp;
Araluce (2001) 91 Cal.App.4th 1120, 1126.)


II.   Insufficient Record
      We must first address the inadequacy of the record on appeal, because
the deficiencies of this record necessarily limit the scope of our review. “[I]t is
settled that: ‘A judgment or order of the lower court is presumed correct. All


                                        8
intendments and presumptions are indulged to support it on matters as to
which the record is silent, and error must be affirmatively shown. This is not
only a general principle of appellate practice but an ingredient of the
constitutional doctrine of reversible error.’” (Denham v. Superior Court
(1970) 2 Cal.3d 557, 564; see Ketchum v. Moses (2001) 24 Cal.4th 1122, 1140–
1141.) There is an “obligation as appellant to present a complete record for
appellate review, and in the absence of a required reporter’s transcript and
other documents, we presume the judgment is correct.” (Stasz v. Eisenberg
(2010) 190 Cal.App.4th 1032, 1039.) “The effect of this rule is that an
appellant who attacks a judgment but supplies no reporter’s transcript will
be precluded from raising an argument as to the sufficiency of the evidence.”
(Estate of Fain (1999) 75 Cal.App.4th 973, 992.) These rules are equally
binding on litigants acting in propria persona. (Nelson v. Gaunt (1981) 125
Cal.App.3d 623, 638–639; Osgood v. Landon (2005) 127 Cal.App.4th 425,
435.)


        1.    No Statement of Decision
        To evaluate Brian’s challenge to the court’s April 20, 2023, order, we
require an adequate record on appeal. The April 2023 minute order simply
states, “The Court finds there is no significant change in circumstance for
[Brian] and denies [Brian]’s Request for Order.” The order does not provide
any indication of how the trial court arrived at that conclusion or what
evidence it relied on to do so.
        It does not appear that either party requested a statement of decision
pursuant to Code of Civil Procedure section 632, which would have provided
us with the trial court’s reasoning and analysis on disputed issues. (City and
County of San Francisco v. H.H. (2022) 76 Cal.App.5th 531, 544.) In his brief,


                                         9
Brian asserts that he “requested a statement of decision pursuant to Code of
Civil Procedure section 632. Specifically, I requested that the court provide a
written statement explaining the factual and legal basis for the court’s
decision.” This assertion is unsupported by any citation to the record. The
record before us does not include a request for a statement of decision under
Code of Civil Procedure section 632. (Protect Our Water v. County of Merced
(2003) 110 Cal.App.4th 362, 364 [“if it is not in the record, it did not
happen”].)
      To the extent Brian attempts to cast his May 16, 2023, declaration as a
request for a statement of decision under Code of Civil Procedure section 632,
he is mistaken. The declaration expressly states it requests three specific
categories of information pursuant to Family Code section 4056, subdivision
(b). The declaration does not reference Code of Civil Procedure section 632 or
include a request for a statement of decision.
      Even if we were to construe Brian’s request for disclosures under the
Family Code as a request for a statement of decision under Code of Civil
Procedure section 632, his request was untimely. Under section 632, a party
must request a statement of decision “within 10 days after the court
announces a tentative decision unless the trial is concluded within one
calendar day or in less than eight hours over more than one day in which
event the request must be made prior to the submission of the matter for
decision.” Brian’s declaration did not satisfy either of these deadlines as it
was filed nearly a month after the court issued its ruling. Accordingly, Brian
has not established he ever made a timely request for a statement of decision
under Code of Civil Procedure section 632.
      When the parties fail to timely request a statement of decision, we
apply the doctrine of implied findings under which we “‘must presume the


                                        10
trial court made all factual findings necessary to support the judgment for
which there is substantial evidence.’” (In re Marriage of McHugh (2014) 231
Cal.App.4th 1238, 1248.) “A party who does not request a statement of
decision may not argue the trial court failed to make any finding required to
support its decision.” (Ibid.)
      Under the doctrine of implied findings: “‘“the necessary findings of
ultimate facts will be implied, and the only issue on appeal is whether the
implied findings are supported by substantial evidence.”’” (Abdelqader v.
Abraham (2022) 76 Cal.App.5th 186, 197.) We conclude the court determined
Brian did not satisfy his burden of showing that he lacked the ability and
opportunity to maintain his prior income. Therefore, he failed to show a
material change in circumstances warranting a modification in support. We
must determine whether this factual finding is supported by substantial
evidence.


      2.     Deficient Settled Statement
      The record before us does not include reporter’s transcripts from either
of the two relevant hearings. On appeal, Brian prepared a settled statement
only for the second hearing on April 20, 2023. This settled statement is
deficient.
      “A settled statement is a summary of the superior court proceedings
approved by the superior court.” (Cal. Rules of Court, rule 8.137(a).) It
“must” contain “a statement of the points the appellant is raising on appeal”
and “a condensed narrative of the oral proceedings” relevant to the appeal.
(Cal. Rules of Court, rule 8.137(d)(1), (2).) “The condensed narrative must
include a concise factual summary of the evidence and the testimony of each
witness relevant to the points that the appellant states . . . are being raised


                                       11
on appeal. . . . Any evidence or portion of a proceeding not included will be
presumed to support the judgment or order appealed from.” (Cal. Rules of
Court, rule 8.137(d)(2)(A).)
       The January 11, 2023, minute order from the first hearing indicates
Brian was sworn and testified at the hearing. Brian did not provide a settled
statement for this hearing, and thus we are without any record of Brian’s
testimony or the court’s discussion of Brian’s request. Similarly, the April 20,
2023, minute order memorializing the second hearing indicates that Crystal
was sworn and testified. Brian’s settled statement does not include a
summary of her testimony in the space provided to set forth the testimony of
the parties. We are therefore unable to determine whether the references to
Crystal’s testimony in other sections of Brian’s settled statement provide a
full summary of her testimony. Under California Rules of Court, rule
8.137(d)(2)(A), we must presume the January 2023 proceedings and Crystal’s
testimony at the April 2023 hearing both supported the denial of Brian’s
request for modification.


III.   Substantial Evidence Supports the Denial of Brian’s Request
       Brian’s arguments on appeal all stem from the same contention: that
he conclusively established a diminished income and earning capacity, and
therefore the court was obligated to reduce his child support. But the trial
court was not required to accept Brian’s representations of his income, assets,
and earning capacity. “The trial court sits as a trier of fact on a motion to
modify child support. ‘[A] trier of fact may believe and accept as true only
part of a witness’s testimony and disregard the rest.’ [Citations.]” (In re
Marriage of Calcaterra &amp; Badakhsh, supra, 132 Cal.App.4th at p. 36.) Where
“a document is prepared by the witness or at his direction, the same rule


                                       12
applies.” (Ibid.) This is particularly true for “a self-employed parent like
[Brian], who controls how income is reported and is responsible for
distinguishing between personal expenses and business expenses that would
reduce available income for child support.” (Swan v. Hatchett (2023) 92
Cal.App.5th 1206, 1215.) The court was not required to credit Brian’s
testimony or income and expense declaration as conclusively establishing a
change in his ability to satisfy his child support obligations.
      From the scant record before us, it appears there were issues of
credibility regarding Brian’s evidence of diminished earning capacity. For
example, Brian’s second request for modification claimed he was only
receiving $6,338 per month in income from his rental properties. Yet, after
the court took issue with Brian’s income and expense declaration at the
unreported January 2023 hearing, Brian filed a new income and expense
declaration stating he was receiving $12,669 per month in income from his
rental properties. In other words, once the trial court questioned the validity
of Brian’s reported rental income, that monthly income somehow doubled.
Brian offered no explanation for this substantial difference in his reported
income. The court could have rightly viewed Brian’s representations of his
financial condition with skepticism given this dramatic and unexplained
discrepancy in his reported income. Indeed, Brian’s settled statement
indicates the court determined Brian’s income and expense declaration was
not credible.
      Similarly, while Brian claimed he was diligent in attempting to find
reemployment, the majority of the evidence he submitted on this point was
from March 2022 and thus pre-dated the hearing on his first request for
modification. (In re Marriage of Schmir (2005) 134 Cal.App.4th 43, 47 [“[I]f
the circumstances in question existed at the time of the previous order those


                                       13
circumstances presumably were considered when the previous order was
made and bringing them to the court’s attention years later does not
constitute a ‘change’ in the circumstances”].) This evidence could have also
given rise to credibility concerns about the sincerity of Brian’s purported
attempts to find new employment, particularly in light of the fact that Brian
admitted that he received—and rejected—a job offer in July 2022.
         Crystal filed a declaration in opposition to Brian’s request for
modification stating that Brian was hiding assets, building a multi-million-
dollar home, and significantly increasing his real estate holdings while at the
same time claiming he lacked the ability to financially support his children.
Brian’s settled statement also indicates Crystal offered testimony that Brian
had more than $3.5 million in assets to pay child support. There is no
indication in the record that Brian ever disputed or rebutted Crystal’s
testimony on these points. Brian simply ignores this contrary evidence in his
brief.
         The court was not required to believe Brian or credit his evidence and
instead could have credited the testimony presented in Crystal’s declaration
or her testimony at the April 20, 2023, hearing. We will not reweigh these
credibility determinations on appeal. (Curcio v. Pels (2020) 47 Cal.App.5th 1,
12; Eidsmore v. RBB, Inc. (1994) 25 Cal.App.4th 189, 195.) As the party
seeking modification, Brian bore the burden of establishing a change of
circumstances justifying modification. (Usher, supra, 6 Cal.App.5th at pp.
357–358.) If Brian failed to provide credible evidence establishing a change
of circumstances, then he could not have carried his burden below.
         Ultimately, we need not speculate as to the court’s reasoning in
denying Brian’s request. Having determined there is substantial evidence
supporting the denial, we affirm. (Schabarum v. California Legislature


                                          14
(1998) 60 Cal.App.4th 1205, 1216 [“It is established that on appeal we review
the decision of the trial court rather than its reasoning”].)


IV.   Brian’s Remaining Claims of Error
      For the reasons set forth below, we find Brian’s other claims of error
are unpersuasive in establishing any abuse of discretion by the trial court.


      1.    Family Code Section 4056, Subdivision (b)
      Brian contends the trial court erred in failing to respond to his May
2023 request for disclosure pursuant to section 4056, subdivision (b). The
record before us is insufficient to establish any such error.
      Section 4056, subdivision (b) provides: “At the request of any party, the
court shall state in writing or on the record the following information used in
determining the guideline amount under this article: [¶] (1) The net monthly
disposable income of each parent. [¶] (2) The actual federal income tax filing
status of each parent (for example, single, married, married filing separately,
or head of household and number of exemptions). [¶] (3) Deductions from
gross income for each parent. [¶] (4) The approximate percentage of time
pursuant to paragraph (1) of subdivision (b) of Section 4055 that each parent
has primary physical responsibility for the children compared to the other
parent.”
      By its express terms, section 4056, subdivision (b) only applies where
the court calculates guideline support. The record before us does not suggest
that the trial court recalculated guideline support in denying Brian’s request
for modification. The November 2021 judgment which first established
Brian’s child support obligation indicates the court fully complied with
section 4056 in calculating guideline support: “The Court used DissoMasterTM


                                        15
to calculate guideline child support and a copy of the DissoMasterTM report is
attached as Exhibit A. The DissoMasterTM report sets forth the financial
circumstances of the parties used to determine guideline child support and is
intended to comply with the provisions of Fam. Code § 4056(b).” The report
attached as Exhibit A to the judgment provides the four categories of
information required by section 4056, subdivision (b). The trial court thus
made the disclosures contemplated by subdivision (b) more than a year before
Brian filed his May 2023 demand for these disclosures. Brian’s claim to the
contrary is unsupported by the record.
      As Brian has not established that the court recalculated guideline
support in connection with his second request for modification, he cannot
show the court was required to provide any additional disclosures pursuant
to section 4056.


      2.    Improper Rate of Return
      Brian claims the trial court improperly imputed a 27 percent rate of
return on his investments. This claim also finds no support in the record.
Nothing in the court’s January 2023 or April 2023 orders or Brian’s settled
statements indicates the court imputed such a rate of return on his
investments. At most, Brian’s settled statement indicates that he made this
claim at the hearing, but nothing in the settled statement suggests the court
made such a determination. We therefore reject this contention.


      3.    Required Sale of Real Property
      The same is true of Brian’s claim that the trial court ordered him to sell
real property. No such order exists in the record before us. The trial court’s
January 2023 and April 2023 orders do not direct or require Brian to sell real


                                      16
property. Brian’s settled statement indicates that he asked the court “if he
should sell property to pay support” and the court “answered yes.” A
statement that Brian “should” sell property is not a requirement to do so.
(See, e.g., Kucera v. Lizza (1997) 59 Cal.App.4th 1141, 1152 [the words “may”
and “should” are ordinarily permissive]; Boam v. Trident Financial Corp.
(1992) 6 Cal.App.4th 738, 745, fn. 6 [“should” used in the present or future
tense, while more forceful than “may,” can convey only a moral obligation or
strong recommendation]; Environmental Law Foundation v. State Water
Resources Control Bd. (2023) 89 Cal.App.5th 451, 477–478 [“should” cannot
be read as synonymous with “must”]; U.S. v. Marcucci (9th Cir. 2002) 299
F.3d 1156, 1159 [unlike “shall” or “must,” the word “should” leaves discretion
to do otherwise].)
      As Brian cannot establish he was ordered to sell real property to satisfy
his support obligations, this argument must necessarily fail.


                               DISPOSITION
      The order denying Brian’s second request for modification of child
support is affirmed. The parties are to bear their own costs on appeal.
      NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS



                                           ZUKIN, J.

      We concur:



      CURREY, P. J.                        MORI, J.




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